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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

Turf Nation, Inc.,

 

 

Plaintiff(s),
MEDIA TION
CERTIFICATION
1117 - cv - 00534
V.
Platte River lnsurance Colnpany,
Defendant(s).
I hereby certify that:
The mediation session scheduled for has been adjourned to

 

 

Case settled prior to the first mediation session.

 

 

 

 

/ Mediation session was held on 03/20/2018 _

 

 

/ Case has seltled. (Colnlnent if necessary).

 

|(:ase has not settled. Mediation will continue on

 

 

 

 

Case has not sellled. Mediation is complete. The case will proceed toward trial
pursuant to the Court's scheduling order.

 

Dale: 03/20/2018 Medialor: /S/ Harold A. Kurland

 

Additional Commenls:

 

 

 

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